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                            UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN

IN RE:                                                    Case No. 18-05001-swd

Kellie Patrice Distefano,                                 Chapter 7
                                                          Filed: 12/03/2018
         Debtor.                                          Hon. Scott W. Dales



          DEBTOR’S MOTION FOR ORDER ENFORCING AUTOMATIC STAY
             AND FOR ORDER AWARDING SANCTIONS FOR WILLFUL
                      VIOLATION OF AUTOMATIC STAY
         Debtor, by and through her attorney Scott Mancinelli., states:

         1. The Debtor filed a Chapter 7 bankruptcy petition on December 3, 2018.

         2.        Bridgecrest Acceptance Corp. “Bridgecrest” is an auto loan financing company

located in Arizona, whose last known business address is PO Box 29018, Phoenix, AZ 85038.

         3.        Debtor is informed and believes that Bridgecrest does business under the name

“DriveTime” or that it is an affiliated entity, as it is also located in Phoenix Arizona.

         4.        Drivetime was listed as a secured creditor on Debtor’s bankruptcy Petition

Schedule D page 24.

         5.        Bridgecrest was listed on Debtor’s bankruptcy Petition Schedule D page 23 with

the address of PO Box 29018, Phoenix, AZ 85038, regarding a vehicle loan that Debtor had on a

Toyota Prius.

         6.        On June 6, 2019, Debtor filed a motion to redeem her Toyota Prius Dkt. 30.

         7.        On June 13, 2019 Bridgecrest appeared in this case through attorney Panayiotis

D. Marselis, filing a response to the Motion to Redeem, Dkt. 33.

         8.        Bridgecrest has been aware and has had actual knowledge of Debtor’s bankruptcy

since at least June 13, 2019.
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       9.      Debtor’s motion was subsequently withdrawn, and debtor gave notice that the

vehicle could be picked up by Bridgecrest.

       10.     Sometime between July 10 and August 12, 2019, Bridgecrest picked up and

removed the Toyota Prius without any notice to Debtor and without filing a motion for relief

from stay.

       11.     On or about August 12, 2019, Bridgecrest sent Debtor letter “Notice of

Disposition and Our Plan to Sell Property” which also stated that it was going to sell the vehicle

and that “if we get less money than you owe, you will still owe us the difference.”

       12.     On August 23, 2019, this Court issued a discharge in this case.

       13.     A copy of the discharge was served on Bridgecrest on Bridgecrest by regular mail

on August 23, 2019, at its address of PO Box 29018, Phoenix, AZ 85038. See certificate of

service listing Bridgecrest Dkt. 37 page 1.

       14.     On August 30, 2019, Bridgecrest sent Debtor a Notice of Deficiency letter

demanding payment of $8376.93. See attached letter Exhibit 1.

       15.     The letter from Bridgecrest violated the permanent discharge injunction.

       16.     Debtor has been bewildered, distressed, and anxious as she did not understand

why such actions were being taken well after her bankruptcy filing.

       17.     Bridgecrest has willfully violated the automatic stay and the discharge injunction

pursuant to 11 U.S.C. Section 362(a)(3), 11 U.S.C. Section 524(a), and 11 U.S.C. Section

727(b), respectively, by refusing to cease collection attempts against the Debtor.

       18.     Debtor has incurred actual damages because of Bridgecrest’s actions.

       19.     Debtor has incurred attorney’s fees because of Bridgecrest’s actions.
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       20.     This Court is authorized to award sanctions against the Bridgecrest under 11

U.S.C. Section 362(k)(1) and 105(a) .

       WHEREFORE, the Debtor prays for entry of an Order:

       a. Requiring Bridgecrest to stay all collection attempts in connection to Debtor’s

prepetition account balances;

       b. Awarding actual damages against Bridgecrest to Debtor plus the amount of attorney

fees to be calculated by the Debtor’s counsel and submitted with an affidavit once fully and

finally determined; and

       c. Awarding punitive damages against Bridgecrest payable to the Debtor in the amount of

$500.00 per instance, increasing at a rate of $500.00 daily until the pre-petition account balance

is cleared and all collection attempts are ceased.

                                       Respectfully submitted,


                                       Attorney for Debtor Kellie Patrice Distefano


Date: September 24, 2019               By / s/ Scott Mancinelli
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                                                               EXHIBIT 1
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